                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                              File No.: 5:21-cv-00179-FL

PATRICIA MCELROY AND                                   )
STEPHEN MCELROY,                                       )
                                                       )      ORDER
                                  PLAINTIFFS,          )
                                                       )
                 VS.                                   )
                                                       )
AT&T CORPORATION                                       )
(SUCCESSOR IN INTEREST TO                              )
BELL LABORATORIES), ET AL.,                            )
                                                       )
                                  DEFENDANTS.          )
                                                       )

        This matter is before the Court upon joint motion by Plaintiffs Patricia McElroy and

Stephen McElroy, and Estee Lauder Inc., to dismiss with prejudice all claims against Estee Lauder,

Inc. in this matter.

        It appearing that grounds exist to permit Plaintiff to voluntarily dismiss this action against

Estee Lauder, Inc. with prejudice, and that the motion should be granted for good causes shown;

        IT IS THEREFORE ORDERED that the action of Patricia McElroy and Stephen McElroy

against Defendant Estee Lauder, Inc., be DISMISSED WITH PREJUDICE. Each party to bear its

own costs.

        This the 23rd day of November, 2022.



                                  __________________________________
                                  LOUISE W. FLANAGAN
                                  United States District Judge

Copies to All Counsel of Record




           Case 5:21-cv-00179-FL Document 107 Filed 11/23/22 Page 1 of 1
